              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                      1:24-cv-00190-MR-WCM

EDUARDO VARGAS,                           )
                                          )
            Plaintiff,                    )
v.                                        )           ORDER
                                          )
DIAMOND AIRCRAFT                          )
INDUSTRIES, INC. and DIAMOND              )
AIRCRAFT SALES U.S.A., INC.,              )
                                          )
           Defendants.                    )
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      This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 6) filed by Alexander M. Gormley.

      The Motion indicates that Mr. Gormley, a member in good standing of

the Bar of this Court, is local counsel for Defendants and that he seeks the

admission of Bryan S. David, who the Motion represents as being a member in

good standing of the Bars of Colorado and Texas. It further appears that the

requisite admission fee has been paid, and that there is no opposition to the

Motion.

      Accordingly, the Court GRANTS the Motion (Doc. 6) and ADMITS Brian

S. David to practice pro hac vice before the Court in this matter while

associated with local counsel.




                                      1

     Case 1:24-cv-00190-MR-WCM Document 11 Filed 10/18/24 Page 1 of 2
It is so ordered.
                          Signed: October 17, 2024




                                 2

Case 1:24-cv-00190-MR-WCM Document 11 Filed 10/18/24 Page 2 of 2
